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   13                FOR THE CENTRAL DISTRICT OF CALIFORNIA
   14                               EASTERN DIVISION
   15
        KELVIN HERNANDEZ ROMAN,                   No. 5:20-cv-00768-TJH-PVC
   16   BEATRIZ ANDREA FORERO
        CHAVEZ, MIGUEL AGUILAR                    ORDER RE:
   17   ESTRADA, on behalf of themselves and      JOINT STIPULATION TO
        all others similarly situated,            MODIFY BRIEFING
   18                 Petitioners-Petitioners,    SCHEDULE ON PETITIONERS’
                                                  WRIT OF HABEAS CORPUS
   19   v.                                        [ECF NO. 67] [80]
   20   CHAD F. WOLF, Acting Secretary, U.S.      Honorable Terry J. Hatter
        Department of Homeland Security;          United States District Judge
   21   MATTHEW T. ALBENCE, Deputy
   22   Director and Senior Official Performing
        the Duties of the Director, U.S.
   23   Immigration and Customs Enforcement;
        DAVID MARIN, Director of the Los
   24   Angeles Field Office, Enforcement and
        Removal Operations, U.S. Immigration
   25   and Customs Enforcement; and JAMES
        JANECKA, Warden, Adelanto ICE
   26   Processing Center,
   27               Defendants-Respondents.
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Case 5:20-cv-00768-TJH-PVC Document 81 Filed 05/14/20 Page 2 of 2 Page ID #:1536



    1         This matter having come before this Court upon the Parties’ Joint Stipulation
    2   to Modify Briefing Schedule on Petitioners’ Writ of Habeas Corpus, and good cause
    3   having been shown, IT IS HEREBY ORDERED that the Parties Joint Stipulation is
    4   GRANTED as follows:
    5      1. Respondents’ response to the petition for a writ of habeas corpus will be due
    6         on May 15, 2020.
    7      2. Petitioners’ reply will be due May 21, 2020.
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    9   DATED: MAY 14, 2020                   _________________________________
                                              HON. TERRY J. HATTER, JR.
   10
                                              UNITED STATES DISTRICT JUDGE
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